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                                             September 12, 2023

                       L.Civ.R. 7.1(d)(5) AUTOMATIC EXTENSION LETTER

     Via CM/ECF Filing
     Melissa E. Rhoads, Esq., Clerk
     United States District Court - District of New Jersey
     Martin Luther King, Jr. Federal Bldg. & Courthouse
     50 Walnut Street, Room 4015
     Newark, NJ 07101

     Re:     IUOE Local 825 v. International Longshoremen’s Association, et al.
             Civil Action No.: 2:23-cv-03689-KM-JRA

     Dear Ms. Rhoads:

            We represent Plaintiff in this matter. Pursuant to L.Civ.R. 7.1(d)(5), we hereby invoke the
     provisions of this Rule for an automatic extension of time to file our opposition to Defendants’
     motion to dismiss Plaintiff’s Amended Complaint. (Docket Entry No. 13).

            The original return date of Defendants’ motion was October 2, 2023. This originally-
     noticed motion day has not previously been extended or adjourned. This letter invoking the
     provisions of L.Civ.R. 7.1(d)(5) has also been filed before the date on which Plaintiff’s opposition
     papers would otherwise be due under L.Civ.R. 7.1(d)(2). The new return date of the motion is
     October 16, 2023, which is the next available motion day following the originally-noticed date.

             I hereby certify that on this date this letter was sent for electronic filing with your office
     and for electronic service upon all counsel. Thank you for your attention to this matter.

                                                     Respectfully submitted,
                                                      DeCotiis, FitzPatrick, Cole & Giblin, LLP


                                                     By: ___________________________________
                                                            Alexander Hemsley, III, Esq.
     AH3/
     cc: All counsel of record (via CM/ECF)


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